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      VIA EMAIL
      U.S.M.J. Justin T. Quinn, U.S.D.J.
      Clarkson S. Fisher Building
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      402 East State Street
      Trenton, NJ 08608

                    RE:            Szemple v. Rutgers University, et al.
                                   Case No.: 3:19-cv-12746 & 3:19-cv-13300
                                   Our File No.: 2301851

      Dear Magistrate Quinn:

             I was appointed by the Court to represent the Pro Se Plaintiff in this matter
      in a limited capacity on two discrete legal issues. The first was to advise the
      plaintiff on the feasibility of obtaining an Affidavit of Merit in this case. The second
      was to review the matter, consult with the Pro Se Plaintiff, and then advise the
      Court why one of the two related cases should not be dismissed as duplicative.
      (3:19-cv-13300 and 3:19-cv-12746) I have conferred with Plaintiff several times,
      and as the Court is aware I am presently attempting to obtain a complete set of
      the relevant institutional and medical records so that I can advise the plaintiff on
      the Affidavit of Merit issue.

            At the same time, I have spoken to the Pro Se Plaintiff regarding the two
      related matters and have determined with his assistance that while there is
      substantial overlap between the two claims, they do raise separate factual
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contentions and implicate different legal issues. With that in mind, the Pro Se
Plaintiff has advised that he will consent to consolidating the matters in order to
streamline the litigation for the Court and the parties involved. Unless there is
objection by one of the parties, I ask that the Court enter an order consolidating
the matters to alleviate the necessity for motion practice.

                                                   Respectfully Submitted,



                                                   HARRIS S. FELDMAN
HSF/rd
